                                                                   (SPACE BELOW FOR FILING STAMP ONLY)
     Case 1:11-cr-00413-AWI-BAM Document 58 Filed 11/07/12 Page 1 of 2


 1         MARK W. COLEMAN, #117306
             NUTTALL & COLEMAN
 2                 2445 Capitol Street, Suite 150
                       FRESNO, CA 93721
 3                    PHONE (559) 233-2900
                        FAX (559) 485-3852
 4
 5      ATTORNEYS FOR         Defendant
 6
 7
 8                                   UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
10                                                  ********
11    UNITED STATES OF AMERICA,                         Case No.: 11-CR-00413
12               Plaintiff,
                                                            STIPULATION TO CONTINUE
13           vs.                                                  SENTENCING
                                                                      AND
14    JUAN LUIS VALTIRRA, ET AL.,                                    ORDER
15                   Defendants.
16
17          IT IS HEREBY STIPULATED by and between the attorneys for the respective parties

18   herein that the Sentencing hearing currently on calendar for November 26, 2012, at 10:00 a.m., be

19   continued to December17, 2012, at 10:00 a.m., or as soon thereafter as is convenient to the court’s

20   calendar.

21          IT IS FURTHER STIPULATED that the deadlines for filing informal and formal

22   objections to the Pre-Sentence Investigation Report be scheduled as follows:

23                   Informal Objections to be served on or before November 26, 2012

24                   Formal Objections to be filed on or before December 10, 2012

25          This continuance is requested by counsel for Defendant, JUAN LUIS VALTIRRA, due to

26   the fact that counsel needs additional time to file informal objections to the Probation Report.

27   Counsel needs to meet with Defendant, who is housed in Lerdo, prior to filing their informal

28   objections.
     Case 1:11-cr-00413-AWI-BAM Document 58 Filed 11/07/12 Page 2 of 2


 1          Counsel for Defendant has spoken with Assistant U. S. Attorney, KIMBERLY SANCHEZ,
 2   who has no objection to this continuance.
 3   DATED: November 6, 2012.             NUTTALL & COLEMAN
 4                                        /s/ Mark W. Coleman
 5                                        ___________________________
                                          MARK W. COLEMAN,
 6                                        Attorney for Defendant,
                                          Juan Valtirra
 7
     DATED: November 6, 2012.
 8                                        /s/ Kimberly Sanchez
 9                                        KIMBERLY SANCHEZ,
                                          Assistant United States Attorney
10
11
                                                 ORDER
12
13
     IT IS SO ORDERED.
14
15   Dated:           November 6, 2012
     0m8i78
16                                UNITED STATES DISTRICT JUDGE
17
18
19
20
21
22
23
24
25
26
27
28

                                                    2
